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                Neil B. Wolin v. Palmetto State Armory LLC




                            EXHIBIT A
                NOTICE OF REMOVAL


           STATE COURT PLEADINGS
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                                                                                                    ELECTRONICALLY FILED - 2024 Nov 18 9:04 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3204799
STATE OF SOUTH CAROLINA              )      COURT OF COMMON PLEAS
                                     )
COUNTY OF LEXINGTON                  )

                                     )
                                     )      Case No. 2024-CP-__-________
Neil B. Wolin,                       )
                                     )
                  Plaintiff,         )           SUMMONS
                                     )      (JURY TRIAL DEMANDED)
       v.                            )
                                     )
Palmetto State Armory, LLC           )
                  Defendant.         )
                                     )

TO THE DEFENDANT ABOVE-NAMED:

       You are hereby summoned and required to answer the Complaint in this action, a copy of

which is attached hereto and herewith served upon you, and to serve a copy of your answer to

same upon the subscribed at 207 Whitsett Street, Greenville, South Carolina, 29601 within thirty

(30) days after the service of same, exclusive of the day of such service. If you fail to answer

same within the thirty (30) day period, Plaintiff will apply to the Court for the relief demanded

therein and judgment will be taken against you by default.

                                                    Respectfully submitted,

                                                    ARNOLD LAW FIRM, LLC


                                            By:     __s/Brian E. Arnold________________
                                                    BRIAN E. ARNOLD
                                                    S.C. Bar No. 16839
                                                    207 Whitsett Street
                                                    Greenville, South Carolina 29601
                                                    (864) 242-2427
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STATE OF SOUTH CAROLINA                 )      COURT OF COMMON PLEAS
                                        )
COUNTY OF LEXINGTON                     )

                                        )
                                        )      Case No. 2024-CP-__-________
Neil B. Wolin,                          )
                                        )
                    Plaintiff,          )           COMPLAINT
                                        )      (JURY TRIAL DEMANDED)
       v.                               )
                                        )
Palmetto State Armory, LLC              )
                    Defendant.          )
                                        )


       COMES NOW Plaintiff, Neil B. Wolin, by and through his counsel, Brian E. Arnold, and

files this Complaint as follows:

       1.        This action is brought pursuant to the Title VII of the Civil Rights Act of 1964, as

amended. The jurisdiction of this Court is invoked to secure protection of and redress deprivation

of rights guaranteed by federal law, which provides relief against religious discrimination and

retaliatory employment practices.

       2.        Plaintiff, a Jewish male, is a resident of South Carolina and had previously

worked for Defendant. Defendant is a domestic entity located at 2121 Old Dunbar Road, West

Columbia, South Carolina 29172, Lexington County, which was the location of Plaintiff’s

employment.

       3.     Plaintiff was fired on May 4, 2024 from his job as a Social Media Coordinator for

Defendant, just three weeks after he reported the harassment he had been enduring from his co-

workers, when on work trips, because he is Jewish.

       4.     Plaintiff recalls immediately after his employee onboarding orientation, Cameron

Tapler, the manager who ultimately terminated him, massaged Plaintiff’s shoulders and said


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“forget everything you learned in orientation.” This is the first of many signs that Defendant had

a pervasive culture that discouraged reporting of harassment and discrimination.

        5.      It was well known in the workplace that Plaintiff was Jewish. On one occasion, in

a group text, Mr. Tapler taunted Plaintiff on the topic of Adam Sandler and Hannukka. On this

group text was Plaintiff’s then manager, Logan Richardson. Mr. Tapler, post Plaintiff’s

termination, has claimed to the EEOC many falsehoods, one being that he was unaware that

Plaintiff was Jewish.

        6.      The antisemitism Plaintiff endured while working for Defendant was constant.

When Plaintiff would travel on work trips with his co-workers, typically over several days, some

of these co-workers would harass and verbally abuse him by saying demeaning things to him

because he is Jewish, including, but not limited to, (1) he is cheap, (2) he is ugly because of his

Jewish blood, (3) he would fit in an ashtray, (4) he should get nervous when he walks by an

oven, (5) he should not have been hired, and (6) he should kill himself.

        7.      As upsetting as these comments and hatred were for Plaintiff, he simply wanted to

be left alone. The abuse was certainly severe and pervasive.

        8.    Plaintiff’s supervisor, as well as others in management, personally witnessed some

of this harassing and abusive behavior but refused to take any action to stop the harassment.

        9.    In fact, on one occasion, Plaintiff spoke to the Social Media Manager of Defendant

that Plaintiff wanted to report his supervisor and other co-workers to Human Resources for

engaging in and being a party to the antisemitic harassment. However, this manager advised

Plaintiff not to report it, as he felt it would lead to Plaintiff’s firing.

        10.    The harassment continued from January 2023 until Plaintiff was terminated in May

2024. The harassment was so hostile and affected Plaintiff so emotionally that he finally had




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enough and called a co-worker an expletive in response to general taunting. However, Plaintiff

was not terminated until he offically reported the discriminatory harassment, which Defendant

already knew about, to Mr. Tapler. Mr. Tapler had recently become Plaintiff’s supervisor.

       11.     Within 3 weeks of Plaintiff making this report of discriminatory harassment,

Plaintiff was targeted by Mr. Tapler. Mr. Tapler reduced Plaintiff’s role and started submitting

false reports about alleged comments that Plaintiff allegedly made regarding someone named

Chris. When Plaintiff was terminated, he was given pretextual reasons to coverup for the real

motives of Defendant of Plaintiff being Jewish and his reporting the already known harassment.

The reasons given by Defendant for Plaintiff’s termination have changed over time, from the

date of his termination, to the reasons given to the unemployment office, to the reasons and

justifications given to the EEOC.

        12.     Plaintiff was harassed because he is Jewish and a hostile environment was

created due to the severe and pervasive harassment he received from his co-workers that

Defendant failed to remedy. Plaintiff was then terminated because he is Jewish and in retaliation

for formally reporting the harassment.

       13.     This action is filed within 90 days from the date of receipt of this Notice of Right

to Sue from EEOC. Defendant is a covered employer as defined under the applicable laws.

                                 FOR FIRST A CAUSE OF ACTION
                                 DISCRIMINATION/RETALIATION


       14.     Plaintiff incorporates by reference paragraphs 1 though 13 to the extent not

inconsistent with the allegations contained in this First Cause of Action.

       15.     Plaintiff was qualified for his position and performed his job satisfactorily.

Plaintiff is Jewish and engaged in protected activity under Title VII.




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       16.     Defendant terminated Plaintiff for false and pretextual reasons to cover up for its

real reasons and motivations of Plaintiff being Jewish and his good-faith reporting of the

harassment he endured over a year’s period because he is Jewish.

       17.     Such discrimination and retaliation were intentional and willful.

       18.     As a result of such conduct, Plaintiff has suffered loss of income, humiliation, loss

of reputation and other special and general damages.


       WHEREFORE, Plaintiff respectfully requests a trial by jury and that this Court enter

judgment in his favor and against the Defendant as follows:

       (a)     For actual damages as proven to the trier of fact, including compensation for

emotional distress, pain and suffering, loss of enjoyment, lost wages (back and front pay), loss

benefits and mental anguish;

       (b)     For special damages including the loss of professional and personal reputation;

       (c)     For punitive damages for Defendants’ malicious intentional acts;

       (d)     For costs of suit, including Plaintiff’s reasonable attorney’s fees; and

       (e)     such other and further relief as this Court deems just and equitable

                               FOR A SECOND CAUSE OF ACTION
                                      HARASSMENT

    19.        Plaintiff incorporates by reference paragraphs 1 though 18 to the extent not

inconsistent with the allegations contained in this Second Cause of Action.

    20.        Plaintiff was an employee entitled to the protections of Title VII. While employed

by Defendant, Plaintiff was harassed in a severe and pervasive manner because he is Jewish and

such harassment created a hostie environment.




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    21.         Despite Defendant being aware of the harassment Plaintiff was enduring, it

allowed the harassment to continue over a long period. Plaintiff was discouraged from reporting

the harassment himself and when he did report it, Defendant’s solution was to terminate him.

Plaintiff was forced to endure such hostile environment until his termination.

    22.         Such harassment and discrimination were because Plaintiff is Jewish, was

intentional and in willful disregard of the rights of Plaintiff.

    23.         As a result of such harassment, Plaintiff suffered emotional distress and other

special and general damages.

        WHEREFORE, Plaintiff respectfully requests a trial by jury on his claims and that he be

granted the following relief:

        (a)     For actual damages as proven to the trier of fact, including compensation for

emotional distress, pain and suffering, loss of enjoyment, and mental anguish;

        (b)     For special damages including the loss of professional and personal reputation;

        (c)     For costs of suit, including Plaintiff’s reasonable attorney’s fees; and

        (d)     such other and further relief as this Court deems just and equitable.

Dated this the 13th day of November, 2024.

                                                Respectfully submitted,

                                                ARNOLD LAW FIRM, LLC



                                                By:__s/Brian E. Arnold_____________________
                                                       Brian E. Arnold
                                                       SC I.D. No. 16839
                                                       Attorney for the Plaintiff
                                                       207 Whitsett Street
                                                       Greenville, South Carolina 29601
                                                       (864) 242-2427




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